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                          EXHIBIT R
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                      Case No. 9:19-cv-81160-RS


    APPLE INC.,

                                 Plaintiff,

           v.

    CORELLIUM, LLC,

                               Defendant.


          APPLE INC.’S RESPONSES AND OBJECTIONS TO CORELLIUM, LLC’S
           NOTICE OF RULE 30(b)(6) DEPOSITION OF PLAINTIFF APPLE INC.

          Pursuant to Rule 30 of the Federal Rules of Civil Procedure, Plaintiff Apple, Inc.

   (“Apple”) hereby provides its responses and objections to Defendant Corellium, LLC’s

   (“Corellium”) Notice of Rule 30(b)(6) Deposition of Apple (the “Notice”). The witnesses

   designated for the topics will provide testimony on those topics during their already-noticed and

   confirmed depositions.

   TOPIC NO. 1:

          All legal and factual positions, arguments, and averments set forth by Apple in the

   Amended Complaint [D.E. 56].

   RESPONSE TO TOPIC NO. 1:

          Apple objects to the request for testimony regarding Apple’s legal position, arguments,

   and averments because this request calls for legal conclusions rather than factual information and

   are therefore inappropriate subject matter for a Rule 30(b)(6) deposition.

          Apple designates Jon Andrews to testify on Apple’s factual positions unless other

   witnesses are designated for those factual issues below.
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   TOPIC NO. 2:

            Corellium’s facts and claims asserted in its Answer to the Amended Complaint,

   Affirmative Defenses and Counterclaim [D.E. 64].

   RESPONSE TO TOPIC NO. 2:

            Apple objects to the request for testimony regarding the legal claims asserted in

   Corellium’s Answer to the Amended Complaint, Affirmative Defenses and Counterclaims

   because this request calls for legal conclusions rather than factual information and is therefore

   inappropriate subject matter for a Rule 30(b)(6) deposition.

            Apple objects to the request for testimony regarding the facts “asserted” in Corellium’s

   Answer to the Amended Complaint, Affirmative Defenses and Counterclaim as improper and

   overly broad as this request assumes that the facts Corellium asserted are true and known to

   Apple.

            Apple designates Jon Andrews to testify as the facts asserted in Corellium’s Answer and

   Affirmative Defenses that are known to Apple.

            Apple designates Ivan Krstić to testify as the facts asserted in Corellium’s Counterclaims

   that are known to Apple.

   TOPIC NO. 3:

            Apple’s knowledge of Corellium and Corellium’s products and services.

   RESPONSE TO TOPIC NO. 3:

            Apple designates Jon Andrews to testify on this topic.

   TOPIC NO. 4:

            Apple’s communications with Corellium and Corellium’s employees.




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   RESPONSE TO TOPIC NO. 4:

           Apple designates Jon Andrews to testify on this topic.

   TOPIC NO. 5:

           Apple’s license policies and practices relating to its copyrights.

   RESPONSE TO TOPIC NO. 5:

           Apple objects to this topic because Apple’s license policies and practices related to its

   copyrights include matters that are protected by the attorney-client privilege and the work-

   product doctrine. Apple also objects to this topic’s request for testimony regarding Apple’s

   license policies and practices related to copyrights that are not at issue in this action, which are

   irrelevant to the claims, counterclaims, and defenses at issue in this case.

           Apple designates Jon Andrews to testify regarding any non-privileged matters relating to

   Apple’s license policies and practices relating to the copyrights at issue in this action.

   TOPIC NO. 6:

           Apple’s efforts to protect and/or enforce its copyright against Corellium.

   RESPONSE TO TOPIC NO. 6:

           Apple objects to this topic because it seeks testimony protected by the attorney-client

   privilege and the work-product doctrine.

           Apple designates Jon Andrews to testify regarding any non-privileged information related

   to this topic.

   TOPIC NO. 7:

           Apple’s consideration of acquiring Corellium, including the entering of a non-disclosure

   agreement, demonstrations and meetings with Corellium, Apple’s valuation of Corellium’s

   products and services.




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   RESPONSE TO TOPIC NO. 7:

           Apple objects to the request for testimony regarding Apple’s valuation of the Corellium’s

   products and services because such information is irrelevant, as the Court has already ruled.

   ECF No. 148 at 2; ECF No. 152 at 3. Apple will not provide a witness to testify regarding

   Apple’s internal valuation of Corellium’s products and services.

           Apple designates Jon Andrews to testify on the remainder of this topic; he will not testify

   to “Apple’s valuation of Corellium’s products and services.”

   TOPIC NO. 8:

           Apple’s communications with Christopher Wade regarding Corellium, Virtual LLC and

   iEmu.

   RESPONSE TO TOPIC NO. 8:

           Apple designates Jon Andrews and Steve Smith to testify on this topic.

   TOPIC NO. 9:

           Apple’s knowledge of Christopher Wade and technologies he has developed including

   Corellium, Virtual LLC and iEmu.

   RESPONSE TO TOPIC NO. 9:

           Apple designates Jon Andrews and Ivan Krstić to testify on this topic.

   TOPIC NO. 10:

           Apple’s knowledge of third-party companies that provide iOS emulation and/or

   virtualization products and services.

   RESPONSE TO TOPIC NO. 10:

           Apple objects to this topic because it seeks testimony on a topic that is irrelevant to this

   litigation. Apple’s knowledge about what any third-party companies do or do not do is irrelevant




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   to whether Corellium has infringed Apple’s copyrights, whether Corellium has a defense to that

   infringement, and whether its counterclaims regarding the Apple Security Bounty program have

   merit. ECF No. 152 at 2.

          Apple will not provide a witness on this topic.

   TOPIC NO. 11:

          Apple’s knowledge of websites that allow for the downloading of the iOS.

   RESPONSE TO TOPIC NO. 11:

          Apple designates Jon Andrews to testify on this topic.

   TOPIC NO. 12:

          Apple’s Bug Bounty Program.

   RESPONSE TO TOPIC NO. 12:

          Apple designates Ivan Krstić to testify on this topic.

   TOPIC NO. 13:

          The use of Dev-Fused iPhones and/or jailbroken iOS Devices to perform security testing

   and research.

   RESPONSE TO TOPIC NO. 13:

          Apple objects to this topic because the use of Dev-Fused iPhones and/or jailbroken iOS

   Devices to perform security testing and research is not relevant to the claims, defenses, or

   counterclaims at issue in this litigation, as the Court has already ruled. See ECF No. 152 at 2.

          Apple will not provide a witness on this topic.

   TOPIC NO. 14:

          Apple’s virtualization or emulation products.




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   RESPONSE TO TOPIC NO. 14:

          Apple objects to this topic because Apple’s virtualization or emulation products are not

   relevant to the claims, defenses, or counterclaims at issue in this litigation, as the Court has

   already ruled, see ECF No. 148 at 2; ECF No. 152 at 2.

          Apple will not provide a witness on this topic.

   TOPIC NO. 15:

          Apple’s damages, whether statutory, actual, or other, and the composition thereof and

   that pertain sought in this action against Corellium.

   RESPONSE TO TOPIC NO. 15:

          Apple designates Jon Andrews to testify about the Apple products that the Corellium

   Apple Product competes with and may impede. Apple is not seeking damages for any loss of

   revenue to Apple because of the Corellium Apple Product and, as such, Mr. Andrews will not

   testify about such revenue. Apple has not determined whether it will pursue statutory damages

   or benefit-of-the-infringer damages.

   TOPIC NO. 16:

          All documents and/or materials produced by Apple in this action.

   RESPONSE TO TOPIC NO. 16:

          Apple objects to this topic as overly broad and an improper topic for a Rule 30(b)(6)

   deponent because it lacks any specificity about what particular topic Corellium wants Apple’s

   corporate representative to address. Apple has produced thousands of documents and it is not

   reasonable to expect an Apple corporate representative to be able to testify to all documents

   produced by Apple in this matter.




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    Dated: February 24, 2020                        Respectfully Submitted,


                                                    s/ Martin B. Goldberg

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                                   CERTIFICATE OF SERVICE

          I, Elana Nightingale Dawson, do hereby certify that on February 24, 2020, I caused a

   copy of the foregoing Apple Inc.’s Responses and Objections to Corellium, LLC’s Notice of

   Rule 30(b)(6) Deposition of Plaintiff Apple Inc. to be served via email upon:

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                                                         s/ Elana Nightingale Dawson
                                                         Elana Nightingale Dawson




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